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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

KEITH SMITH,

       Plaintiff,

-vs-                                              CASE NO.: 5:17-CV-00424-JSM-PRL

NAVIENT SOLUTIONS, LLC

       Defendant.
                                     /

                              NOTICE OF PENDING SETTLEMENT

        Plaintiff, KEITH SMITH, by and through his undersigned counsel, hereby notifies the

Court that the parties, Plaintiff, KEITH SMITH, and Defendant, NAVIENT SOLUTIONS, LLC,

have reached a settlement with regard to this case, and are presently drafting, and finalizing the

settlement agreement, and general release documents. Upon execution of the same, the parties

will file the appropriate dismissal documents with the Court.


Dated: August 3, 2018


                                                    /s/ John C. Distasio, Esquire
                                                    JOHN C. DISTASIO, ESQUIRE
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                                                    Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of August, 2018, the foregoing was filed

electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF system, and

a copy of which was served via electronic mail to:


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                                                     /s/ John C. Distasio, Esquire
                                                     JOHN C. DISTASIO, ESQUIRE
                                                     Florida Bar No.: 096328
